PLEASE FILE 2" ORIGINAL DOCUMENT - pg. 1 of 2 Bismillah

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
Civil Action No. 1:21-cv-305-MR-WCM

BROTHER T. HESED-EL, )
)

Plaintiff, RESPONSE TO

) ORDER TO SHOW CAUSE

ROBIN BRYSON, et al., ) FILED

) ASHEVILLE, NC
Defendants. )

) NOV 29 2023
)

U.S. DISTRICT COURT
| W. DISTRICT OF N.C.
On November 15, 2023, the Court ordered Plaintiffto show cause as to why Mr. Goldsmit

should not be appointed to serve as mediator at the settlement conference the Court previously

ordered. Plaintiff respectfully responds as follows:

—

The appointed mediator charges $300 per hour.

2. Plaintiffs lacks legal representation and his funds are limited. Paying that mediation fee
may jeopardize Plaintiff's ability adequately care for his family, pay his bills, hire expert
witnesses, and cover deposition costs during discovery.

3. It is Plaintiff’s opinion that Defendants did not demonstrate any good faith during the

previous settlement conference and may likely repeat the same tactics in the future.

4, Plaintiff intends to comply with the court’s order.

Respectfully, this 14 day of Jumada I in the year 1445 A.H.

[tf Brother 7. Neal Cb, A

ro se

ENT

30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3@gmail.com

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CERTIFICATE OF SERVICE

This certifies that this RESPONSE TO ORDER TO SHOW CAUSE has been sealed in an
envelope with sufficient postage affixed thereon, and deposited into the exclusive custody of the

United States Post Office, to ensure delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A.

Post Office Box 7647
Asheville, North Carolina 28802
dwalsh@roberts-steven.com

This 28" day of November 2023 A.D.

Bro. T. Hesed-El, Plaintiff pro se

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